Case 2:O4-cv-O2321-SHI\/|-dkv Document 22 Filed 08/18/05 Page 1 of 2 Page|D 26

IN THE UNITED STATES DISTRICT COURULED B"f % D_C,
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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J.B. BELL, JR., GAYNIECE BENNETT, W,D §§ . F§,PEIQUHT

LAFRANCINE BENNETT, REGINALD
BURTON, PAULINE JOHNSON, JAMES
MACK, DERRICK PARKER. and

 

WYLEY TAYLOR,
Plaintiffs.
vs. No. 04-2321-Ma V
JURY DEMANDED
CITY OF MEMPHIS,
Defendant.
ORDER

 

This matter having some before the Court, upon motion of the Plaintiffs,
by and through their Counsel Kathleen L. Caldwell, for a sixty {60) day
extension of time to Designate Expert Witness and all other deadlines, and the
Court being advised that there is no opposition to said motion, and upon
argument of counsel the Court finds that said motion is Well-taken and should
be granted

IT IS, THEREFORE, ORDERED that an extension of sixty [60] day is
granted up to and including October 14, 2005.

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oRDERED this the / 7 day of August, 2005

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U.S. Distri¥!le;izg/e

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Th\s document entered on the docket sheet in compliance

with Rule 58 and/or 79(a) FRGP on 8 ’2 §§ Q§

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

